Case 1:19-cv-01796-PEC Document 165 Filed 02/20/20 Page 1of 3

IN THE UNITED STATES COURT OF FEDERAL CLAIMS
BID PROTEST

 

AMAZON WEB SERVICES, INC.,
Plaintiff,

Case No, 19-1796 C

Vv.

Judge Campbell-Smith
UNITED STATES OF AMERICA,

by and through the U.S. Department of Defense,
Defendant,
and
MICROSOFT CORPORATION,

Defendant-Intervenor.

 

 

NOTICE OF FILING ORIGINAL SECURITY BOND DOCUMENTS

Pursuant to this Court’s Opinion and Order granting Plaintiff Amazon Web Services, Inc.’s
(“AWS”) Motion for Preliminary Injunction on February 13, 2020 (ECF No. 164), AWS, by and
through its undersigned counsel, files this Notice indicating that AWS has obtained a security bond
(Bond No. 023211466) from Liberty Mutual Insurance Company in the amount of $42 million, as
directed by this Court. Attached hereto is the original, fully executed, United States Court of
Federal Claims Form 11. AWS has also attached a Power of Attorney executed by representatives
of Liberty Mutual Insurance Company authorizing the Ms. Heidi Bockus to sign, execute, and

acknowledge the above-referenced surety bond,

 
Case 1:19-cv-01796-PEC Document 165 Filed 02/20/20 Page 2 of 3

Dated: February 20, 2020

Of Counsel:

J. Alex Ward

Daniel FE. Chudd

Sandeep N. Nandivada
Caitlin A. Crujido

Alissandra D. Young
Morrison & Foerster LLP
2000 Pennsylvania Ave., NW
Washington, DC 20006-1888

Respectfully submitted,

By: Loom Me egg

‘Kevin P. Mullen
Morrison & Foerster LLP
2000 Pennsylvania Ave., NW
Washington, DC 20006-1888
Telephone: 202.887.1500
Facsimile: 202.887.0763

Attorney of Record for Plaintiff,
Amazon Web Services, Inc.

Andrew 8S, Tulumello

Daniel P. Chung

GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036

(202) 955-8500

Theodore J. Boutrous, Jr,
Richard J. Doren

Eric D. Vandevelde

GIBSON, DUNN & CRUTCHER LLP
333 South Grand Avenue

Los Angeles, CA 90071-3197
(213) 229-7000
Case 1:19-cv-01796-PEC Document 165 Filed 02/20/20 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that on February 20, 2020, a true copy of the foregoing NOTICE OF

FILING ORIGINAL SECURITY BOND DOCUMENTS and accompanying documents

attached thereto were served by courier upon:

and

Anthony F. Schiavetti, Esq.

United States Department of Justice

Civil Division —- Commercial Litigation

1100 L Street, N.W.

Room 10012

Washington, DC, 20005

Attorney of Record for Defendant, The United States of America

Robert S. Metzger, Esq.

Rogers Joseph O’ Donnell

875 15" Street, N.W., Suite 725

Washington, D.C., 20005

Attorney of Record for Defendant-Intervenor, Microsoft Corporation

I hereby certify that on February 20, 2020, two copies of the foregoing NOTICE OF

FILING ORIGINAL SECURITY BOND DOCUMENTS and two copies of the accompanying

documents attached thereto were served by courier upon:

Clerk’s Office

United States Court of Federal Claims
Howard T. Markey National Courts Building
717 Madison Place, N.W.

Washington DC, 20439

Dated: February 20, 2020 By: Liteyt WU WIA
evin P. MullenyEsq.
